        Case 4:13-cr-00197-BSM Document 169 Filed 09/24/13 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                             4:13CR00197-7 BSM


RODNEY BRYANT


                                       ORDER

      For the reasons stated at the conclusion of the September 24, 2013

Revocation Hearing, the Government’s Motion to Revoke Pretrial Release (docket

entry #116) is DENIED.

      The Court’s July 25, 2013 Order Setting Conditions of Release (docket entry

#94) is MODIFIED to require Defendant to reside in chemical-free living until the

final disposition of all charges in his case.

      IT IS SO ORDERED this 24th day of September, 2013.



                                         ___________________________________
                                         UNITED STATES MAGISTRATE JUDGE
